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  THE CIRCUIT COURT OF THE
  TWENTIETH JUDICIAL CIRCUIT
  IN AND FOR LEE COUNTY, FLORIDA

  CIVIL DIVISION

  CASE NO. 18-CA-005454


  ADP, INC. f/k/a ADP, LLC,

           Plaintiff,

  v.

  DAVID SCHWARTZ,

           Defendant,
                                                 /

        SECOND AMENDED COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

           Plaintiff, ADP, INC. f/k/a ADP LLC (“ADP”), for its Second Amended Complaint for

  Injunctive and Other Relief against Defendant David Schwartz (“Defendant” or “Schwartz”),

  states as follows:

                                           INTRODUCTION

           1.      This action arises out of various breaches of contract, breach of duty of loyalty,

  and misappropriation of trade secrets.

                                   JURISDICTION AND PARTIES

           2.      Plaintiff, ADP, is a Delaware limited liability company with its principal place of

  business in Roseland, New Jersey.

           3.      ADP is a subsidiary of ADP Atlantic, LLC. ADP and ADP Atlantic, LLC’s

  ultimate parent company is Automatic Data Processing, Inc. ADP is, therefore, a subsidiary of

  Automatic Data Processing, Inc.




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           4.    Defendant Schwartz is an individual residing at 11636 Meadowrun Cir., Ft.

  Myers, Florida, 33913.

           5.    Venue is proper pursuant to Fla. Stat. § 47.011 because Schwartz resides in Ft.

  Myers, Florida.

                 FACTUAL BACKGROUND AND COMMON ALLEGATIONS

           6.    For over fifty years, ADP has provided business outsourcing and software

  services to clients, including human resources, payroll, tax, and benefits administration services.

  ADP offers its services internationally and across the United States, including in Florida.

           7.    ADP has been able to achieve success in the industry by establishing a strong

  reputation for providing uncompromising, professional customer service to its client base and

  through the extensive and critical relationships that it has developed with its clients and

  marketing partners. ADP has expended substantial amounts of money, time, and resources over

  the years to select, hire, and train employees to build on and strengthen ADP’s reputation and to

  develop and continue its relationships with its clients and its marketing partners.

           8.    To promote valuable relationships between its employees and its clients and

  marketing partners, ADP has, among other things: recruited, hired and trained highly qualified

  sales employees and leadership; extensively marketed its services in the local community;

  provided competitive pricing in each market; established policies to provide quick and fair

  responses to any concerns made by clients; developed significant relationships with strategic

  marketing partners; and made customer service a primary goal and objective of its business.

           9.    ADP’s success in the industry is also largely attributable to its confidential, trade

  secret, and proprietary information regarding, among other things, its proprietary products,

  software, services, techniques, strategic business plans, client and prospect lists, client



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  preferences, pricing and contract details, operational procedures, marketing and sales strategies,

  and referral sources. ADP has invested significant time, money, and resources to generate,

  develop, and maintain its confidential, trade secret, and proprietary information (the “Proprietary

  Information”).

                                 Schwartz’s Employment with ADP

           10.     On or about May 18, 2015, ADP hired Schwartz as an Associate District

  Manager.

           11.     In his position as Associate District Manager, Schwartz was responsible for

  cultivating, developing, and maintaining business with clients and prospective clients.

           12.     On April 30, 2015, as a condition of his employment, Schwartz entered into a

  Non-Disclosure Agreement (“NDA”). See Non-Disclosure Agreement, attached as Exhibit A.

           13.     The NDA defines “ADP” as “Automatic Data Processing, Inc. and/or any of its

  divisions, subsidiaries and affiliates . . . .” Exhibit A at ¶ 1(a).

           14.     The NDA required that if Schwartz ceased to be an ADP employee he would

  “immediately return all documents and electronically stored information containing ADP

  Information (including all copies thereof), whether or not such materials were prepared by ADP,

  [Schwartz] or another Person, and which [were in his] possession or over which [he exercised]

  any control.” Id. at 1(b).

           15.     On April 30, 2015, as a condition of his employment, Schwartz also entered into a

  Sales Representative Agreement (“SRA”). See Sales Representative Agreement, attached as

  Exhibit B.

           16.     The SRA defines “Company” as “Automatic Data Processing, Inc., a Delaware

  corporation, or one of its divisions, subsidiaries and affiliates . . . .” Exhibit B, preamble.



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           17.    The SRA contains certain reasonable restrictions designed to protect ADP’s

  confidential business information and client goodwill, among other protectable business

  interests. Notably, the SRA provides the following:

           (b) . . . Upon termination of Employee's employment with the Company,
           Employee will return all copies of all materials which belong to the Company
           (whether or not such materials were prepared by the Company) and which are in
           Employee's possession or over which Employee exercises any control.


           See Exhibit B, ¶ 4(b) (emphasis added).

           18.    On March 23, 2016, Schwartz became a District Manager in ADP’s Small

  Business Services division.

           19.    As a District Manager, Schwartz was responsible for cultivating, developing, and

  maintaining business with ADP’s current and prospective clients.

           20.    On July 20, 2017, Schwartz was promoted to Senior District Manager Elite

  Performer. On June 6, 2018, Schwartz received a title change to Senior District Manager Elite

  Performer, Centric. In his roles at ADP, Schwartz’ territory included certain zip codes located

  in East Fort Myers, Lehigh Acres, Labelle, Clewiston, and Immokalee, Florida.          At ADP,

  Schwartz had access to the Proprietary Information.

           21.    ADP offers participation in a stock award program to certain employees. To

  receive the stock award, employees must agree to be bound by certain restrictive covenants. See

  the 2017 Restrictive Covenant Agreement, attached as Exhibit C. As part of the electronic

  acceptance process to receive the award of stock, an employee must accept the terms of these

  restrictive covenants.

           22.    As a condition of receiving restricted stock, Schwartz entered into a Restrictive

  Covenant Agreement (“RCA”) dated September 1, 2017. See id.



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           23.    The RCA defines “ADP” as “Automatic Data Processing, Inc. or one of its

  subsidiaries or affiliated companies . . . .” Exhibit C, preamble.

           24.    In the RCA, Schwartz agreed to, among other things, certain non-solicit, non-

  interference, non-use, and non-disclosure obligations concerning ADP’s confidential and

  proprietary business information, and the return of such information and ADP property upon

  Schwartz’s separation from employment.          The non-disclosure and return of ADP property

  provision provides:

           6. Non-Disclosure and Non-Use of Confidential Information and Trade
           Secrets. During my employment, except as authorized and required to perform
           my duties for ADP, and after the voluntary or involuntary termination of my
           employment for any reason and with or without cause, I will not access, disclose,
           use, reproduce, distribute, or otherwise disseminate ADP’s Confidential
           Information or trade secrets or take any action causing, or fail to take any action
           necessary in order to prevent, any such information to lose its character or cease
           to qualify as Confidential Information or a trade secret. I agree to inquire with
           ADP if I have any questions about whether I am authorized or required to access,
           disclose, use, reproduce, distribute, or otherwise disseminate ADP’s Confidential
           Information or whether particular information is Confidential Information or a
           trade secret before accessing, using or disclosing such information. I understand,
           however, that nothing in this Restrictive Covenant Agreement prohibits me from
           reporting possible violations of federal law or regulation to any governmental
           agency or entity or from communicating with any such agency or entity
           regarding the same. I also agree to immediately return to ADP all property and
           information belonging to ADP such as keys, credit cards, telephones, tools,
           equipment, computers, passwords, access codes, pin numbers, and electronic
           storage devices, as well as all originals, copies, or other physical embodiments of
           ADP’s Confidential Information or trade secrets (regardless of whether it is in
           paper, electronic, or other form), including any such information in any
           programs, business forms, manuals, correspondence, files, databases, or on
           computer disks or any other storage medium, including but not limited to cloud
           storage, whether or not owned or controlled by me or ADP (e.g., social and
           business networking websites, web-based email servers, Notability, or cloud
           storage services), immediately upon termination of my employment or upon any
           earlier request by ADP, and I agree not to keep, access, disclose, use, reproduce,
           distribute, or otherwise disseminate any copies, electronic or otherwise, of any of
           the foregoing. I also understand that my obligations under this paragraph, as well
           as the other covenants in this Agreement, extend to my activities on the internet,
           including my use of business oriented social networking sites such as LinkedIn
           and Facebook. This shall include deleting any business related connections or

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           contacts, including all ADP Clients and Business Partners, that I inputted in or
           with whom I connected on any business oriented social networking sites, my
           LinkedIn account, any cloud storage, any electronic device, or any cell phones
           while employed at ADP.

  See Exhibit C, ¶ 6.

           25.    The RCA also contains a non-competition provision, which provides:

           3. Non-Competition. I agree that during my employment and for a period of
           twelve (12) months from the voluntary or involuntary termination of my
           employment for any reason and with or without cause, I will not, directly or
           indirectly, own, manage, operate, join, control, finance, be employed by or with,
           or participate in any manner with a Competing Business anywhere in the
           Territory where doing so will require me to (i) provide the same or substantially
           similar services to a Competing Business as those which I provided to ADP
           while employed, or (ii) use, disclose or disseminate ADP’s Confidential
           Information or trade secrets. However, after my voluntary or involuntary
           termination of my employment for any reason and with or without cause, nothing
           shall prevent me from owning, as an inactive investor, securities of any
           competitor of ADP which is listed on a national securities exchange.

  See Exhibit C, ¶¶ 3.

           26.    Schwartz was terminated from ADP effective July 18, 2018.

           27.    Per the terms of the NDA (at paragraph 9), SRA (at paragraph 7), and the RCA (at

  paragraph 9) attached to and incorporated into the complaint filed in 2018 all of which contain a

  choice of law provision stating that New Jersey law applies, ADP relies on New Jersey law for

  the enforcement of the contractual claims in this action.

                                   Schwartz’s Wrongful Conduct

           28.    Schwartz has breached the NDA, SRA and RCA (collectively, “the

  Agreements”), as well as his duty of loyalty and other legal obligations to ADP.

           29.    ADP has learned that while Schwartz was employed at ADP he created, though an

  intermediary company called National Telecom, a competing business called United Business




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  Consulting Group Inc. (“UBCG”). Schwartz created UBCG on February 19, 2018, five months

  before his departure from ADP. See Sunbiz.org page for UBCG, attached as Exhibit D.

           30.   Like ADP, at all times material, UBCG offered human resources and payroll

  services. Specifically, UBCG contended that its HR solutions and payroll system is “the best in

  the industry.” See UBCG Human Resources and Payroll Pages, attached as Composite Exhibit

  E.

           31.   While employed at ADP, Schwartz was responsible for selling the same type of

  services that UBCG sold.

           32.   Prior to his departure, Schwartz forwarded multiple emails from his ADP email

  account to his UBCG email account, as well as to other email accounts, containing confidential

  ADP information, including information regarding ADP clients.

           33.   Schwartz also failed to return his laptop and iPad upon leaving ADP in violation

  of the Agreements. In fact, although ADP demanded Schwartz return his ADP-owned laptop

  and iPad, but he refused.

           34.   Based upon Schwartz’s conduct in violation of the Agreements, ADP sent

  Schwartz a letter dated July 31, 2018, reminding Schwartz of his contractual obligations,

  outlining Schwartz’s various violations of the Agreements and requesting that Schwartz execute

  an enclosed affidavit. See the “Cease and Desist Letter,” attached as Exhibit F. ADP also

  informed Schwartz that if it did not receive the executed affidavit and confirmation that he

  returned all ADP documents and equipment in his possession, that ADP would be forced to take

  all action against him to protect ADP’s contractual and other legal rights. Id.

           35.   In response to the Cease and Desist Letter, Schwartz blamed the forwarded emails

  on his “technology not working” and claimed ADP should be held responsible for it. Notably,



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  Schwartz did not deny having forwarded these emails and refused to sign an affidavit stating that

  he did not disclose any of the content of the emails to other individuals, that he deleted the

  emails, and that he did not retain any copies of the emails.

           36.   ADP was, therefore, forced to file this lawsuit to protect its rights.

                                     Irreparable Harm to ADP

           37.   Schwartz’s conduct is unfairly harming ADP’s business. The harm is irreparable.

           38.   Schwartz has refused to return his ADP laptop and iPad containing confidential

  and Proprietary Information in violation of the Agreements.

           39.   Schwartz also forwarded himself ADP emails containing confidential information

  to his email account at his competing business and has refused to delete the same and/or confirm

  that he has not shared this Proprietary Information with others.

           40.   Schwartz owned and/or worked at a direct competitor, UBCG that he created

  while working for ADP in violation of the Agreements and his duty of loyalty to ADP. As a

  direct result of Schwartz’s actions, ADP has lost, and will continue to lose, the value of its

  Proprietary Information. Such information was developed and maintained at great expense and

  effort on the part of ADP and belongs to ADP.             The ADP proprietary and trade secret

  information that Schwartz obtained and learned while employed at ADP has aided and/or will

  continue to aid Schwartz in his employment with UBCG, a direct competitor of ADP.

           41.   Unless enjoined, Schwartz will continue to breach the Agreements, his loyalty

  and legal duties and obligations by working at UBCG, disclosing ADP’s confidential and

  proprietary information, and misusing ADP’s confidential and proprietary information to his and

  UBCG’s advantage and to the competitive disadvantage of ADP.




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            42.    If Schwartz is not immediately barred from violating the Agreements and from

   using and disclosing ADP’s confidential and Proprietary Information, ADP will continue to

   suffer irreparable harm. ADP lacks an adequate remedy at law to address the harm that it is

   suffering as a result of Schwartz’s actions. Indeed, Schwartz agreed that any violation of the

   SRA and RCA would irreparably harm ADP and therefore would entitle ADP to injunctive relief

   to prevent further damage to ADP. See Exhibit A, ¶ 4(e); Exhibits B, ¶ 6; Exhibits C, ¶ 11.

            43.    Due to Schwartz’s divulgence and/or inevitable divulgence of Proprietary

   Information, as well as the loss of ADP’s competitive edge, client goodwill and unfair

   competition, ADP is entitled to injunctive relief requiring the return of ADP’s confidential

   materials, including but not limited to the laptop, iPad,and forwarded emails, barring Schwartz

   from violating his nondisclosure and non-solicitation obligations and wrongfully using and

   disclosing ADP’s confidential, proprietary, and trade secret information, as set forth more fully

   below. ADP is also entitled to damages, including lost profits, interest, costs, and attorneys’

   fees.

            44.    By ignoring the clear and irrefutable restrictive covenants contained in the

   Agreements Schwartz executed and by ignoring ADP’s Cease and Desist Letter, Schwartz’s

   various and continuous breaches of the Agreements constitutes the type of willful, fraudulent,

   and malicious conduct that warrants punitive damages.

                                                  Count I
                                              Injunctive Relief

            45.    ADP hereby incorporates and re-alleges paragraphs 1-44 by reference.

            46.    Plaintiff has a clear legal right or interest in protecting its trade secret, confidential

   and proprietary information, and the business relationships with ADP’s clients that form the

   subject matter of this suit.

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            47.   As a result of Defendant’s failure to perform his duties and comply with his

   obligations under the NDA, SRA, and RCA, and misappropriation of trade secret, confidential,

   and proprietary information, immediate and irreparable injury will result to Plaintiff if the Court

   does not enter an injunction prohibiting Defendant from, inter alia, misappropriating ADP’s

   trade secret, confidential and proprietary information. This injury to Plaintiff outweighs any

   possible harm to Defendants.

            48.   Plaintiff has an inadequate remedy at law.

            49.   Plaintiff has a substantial likelihood of success on the merits of this cause.

            50.   The entry of an injunction will not disserve the public interest.

            WHEREFORE, Plaintiff demands that the Court enter a temporary and permanent

   injunction as follows:

                  a. Enjoining Defendant from any further violations of the NDA, SRA and RCA;

                  b. Enjoining Defendant from using or possessing ADP’s trade secret,

                      confidential and proprietary information;

                  c. Enjoining Defendants from interfering with ADP’s current and prospective

                      clients; and,

                  d. any additional relief this Court deems just, equitable and proper.

                                               Count II
                                          Breach of Contract

            51.   ADP hereby incorporates and re-alleges paragraphs 1-44 by reference.

            52.   Schwartz voluntarily entered into the NDA, SRA and RCA with ADP.

            53.   The Agreements are each valid, binding, and enforceable contracts.

            54.   The Agreements are each supported by adequate, legal consideration.

            55.   ADP fully performed as required under the Agreements.

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            56.    Schwartz breached, and will inevitably continue to breach, the Agreements by

   engaging in the conduct described herein, including failing to return ADP property and

   confidential information, wrongfully using and disclosing ADP’s confidential, proprietary, and

   trade secret information, and wrongfully obtaining or retaining ADP’s confidential, proprietary,

   and trade secret electronic documents.

            57.    As a result of Schwartz’s breaches, ADP has suffered damages.

            58.    ADP is entitled to damages, costs, and disbursements incurred in this action,

   including attorneys’ fees, and to injunctive relief against further breaches of the Agreements.

            WHEREFORE, Plaintiff seeks damages against Defendant, an award of its attorneys fees

   and costs as provided in the RCA, injunctive relief against further breaches of the Non-

   Disclosure Agreement, Sales Representative Agreement and Restrictive Covenant Agreement

   and any other relief the Court deems just and proper under the circumstances.

                                               Count III
                                         Specific Performance

            59.    ADP hereby incorporates and re-alleges paragraphs 1-44 by reference.

            60.    This in an action for specific performance of the NDA, SRA and RCA to require

   Schwartz to return ADP’s company laptop and iPad and delete the forwarded emails in

   accordance with the Agreements.

            61.    Schwartz entered into the Agreements pursuant to which Schwartz was to return

   all company materials upon his departure from ADP. The Agreements are clear, definite, certain

   and complete.

            62.    Schwartz has breached the Agreements by failing and/or refusing to return the

   company laptop and iPad and by failing and/or refusing to delete the forwarded emails

   containing ADP proprietary information.

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            63.   ADP has abided by and performed its obligations under the Agreements.

            64.   ADP has no adequate remedy at law.

            WHEREFORE, Plaintiff seeks judgment that Defendant be required to return ADP’s

   company laptop and iPad and delete all forwarded emails in conformity with the Agreements,

   and for any additional relief that the Court deems just and proper under the circumstances.

                                             Count IV
                                      Breach of Duty of Loyalty

            65.   ADP hereby incorporates and re-alleges paragraphs 1-44 by reference.

            66.   As an employee of ADP, Schwartz owed his employer an undivided duty of

   loyalty including, but not limited to, the duty to advance the interests of ADP, the duty to

   preserve ADP’s Proprietary Information and the duty not to use any of ADP’s Proprietary

   Information in any way adverse to ADP’s interests.

            67.   Following his separation, Schwartz continues to owe a duty of loyalty to ADP not

   to make use of its confidential and Proprietary Information.

            68.   Schwartz breached his duty of loyalty to ADP by creating a competing business,

   UBCG and through his use and disclosure of ADP’s Proprietary Information for his benefit and

   UBCG in contravention of the Agreements.

            69.   Schwartz’s breaches of the Agreements have wrongfully benefitted both Schwartz

   and UBCG, which, in turn, have caused ADP to suffer damages.

            70.   As a result of Schwartz’s breaches, ADP has and will continue to suffer damages.

            71.   ADP is entitled to damages, costs and injunctive relief against further breaches of

   the Agreements by Schwartz.

            WHEREFORE, Plaintiff seeks damages against Defendant and any other relief the Court

   deems just and proper under the circumstances.

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                                            Count V
                                 Misappropriation of Trade Secrets

            72.   ADP hereby incorporates and re-alleges paragraphs 1-44 by reference.

            73.   Schwartz acquired ADP’s confidential and Proprietary Information by improper

   means.

            74.   Schwartz has used and disclosed, or will use and/or disclose, ADP’s confidential

   and Proprietary Information without authorization or consent from ADP.

            75.   The confidential and Proprietary Information wrongfully disclosed, or that will be

   used and/or disclosed, by Schwartz constitutes trade secret information that is owned by ADP.

   Such information derives independent economic value, actual or potential, from not being

   generally known to and not being readily ascertainable by proper means by other persons who

   can obtain economic value from its disclosure or use, and also because ADP has undertaken

   reasonable efforts under the circumstances to ensure and maintain the secrecy of such

   information.

            76.   As a result of Schwartz’s use and disclosure, and/or future use and/or disclosure,

   of ADP’s trade secret information, ADP has suffered and will continue to suffer damages.

            77.   As a result of Schwartz’s use and disclosure, and/or future use and/or disclose, of

   ADP’s trade secret information, ADP has suffered irreparable injury and there is immediate and

   imminent danger that ADP will continue to suffer irreparable injury for which there is no

   adequate remedy at law.




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            78.    ADP is entitled to injunctive relief against further use and disclosure, and/or

   future use and/or disclose, of its trade secrets by Schwartz, damages, costs, and reasonable

   attorneys’ fees.

            WHEREFORE, Plaintiff seeks damages against Defendant, an award of its attorneys fees

   and costs under Fla. Stat. § 501.2105, injunctive relief against further use and disclosure, and/or

   future use and/or disclosure, of its trade secrets by Schwartz and any other relief the Court deems

   just and proper under the circumstances.

                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 27, 2022 the foregoing document was electronically
   filed with the Clerk of the Court using ECF. I also certify that the foregoing document is being
   served on this day to: Robert H. Goodman, Esq./Joseph E. Parrish, Esq., PARRISH &
   GOODMAN, PLLC, Counsel for Defendant, 13031 McGregor Blvd., Suite 19, Fort Myers,
   Florida 33919 (Primary: rgoodman@parrishgoodman.com; jparrish@parrishgoodman.com;
   Secondary: admin@parrishgoodman.com). .

                                                MCDONALD HOPKINS, LLC

                                                By:_______________________________

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                    EXHIBIT A
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Automatic Data Processing, Inc.
One ADP Boulevard
Roseland, New Jersey 07068

For good and valuable consideration, the sufficiency and receipt of which is hereby acknowledged, I agree with you that:

  1. (a) During and at any time after my employment with Automatic Data Processing, Inc. and/or any of its divisions, subsidiaries and
     affiliates (collectively “ADP”), I shall not, except in connection with my duties as an ADP employee, on my behalf or on behalf of any
     other person, corporation, partnership or other entity whatsoever (each, a “Person”), access, use, or disclose to any Person any
     confidential information, trade secrets, or other proprietary information of ADP, its vendors, licensors, marketing partners, business
     partners, or clients (including, but not limited to, (i) ADP’s business methods, procedures, pricing and marketing structure and strategy
     which are not publicly available and which I did not learn from a public source, (ii) ADP’s source and object codes, computer screens,
     programs and forms, experimental or research work, methods, processes, formulas, or drawings, (iii) the names, addresses and
     business activities of ADP’s current, former and prospective clients, and (iv) the names, addresses, and personal information of ADP’s
     and ADP’s current, former, and prospective clients’ employees), learned by me at any time during my employment with ADP
     (collectively, the “ADP Information”).

     (b) Upon ceasing to be an ADP employee, I shall immediately return all documents and electronically stored information containing
     ADP Information (including all copies thereof), whether or not such materials were prepared by ADP, me or another Person, and which
     are in my possession or over which I exercise any control.

  2. I understand and acknowledge that ADP shall have exclusive rights to anything related to ADP’s actual or prospective business which I
     conceive or work on, either in whole or in part, while employed by ADP and that all such work product is hereby assigned to ADP and, if
     copyrightable, shall be property of ADP as “works for hire” under federal copyright law. I further understand and acknowledge that such
     work product may also constitute ADP confidential and proprietary information. Accordingly, I:

     (a) shall promptly and fully disclose all such items to ADP and will not disclose such items to any other person or entity (other than
     employees of ADP authorized to review such information), without ADP’s prior consent;

     (b) shall maintain on ADP’s behalf and surrender to ADP upon ceasing to be an ADP employee all written records regarding all such
     items;

     (c) shall, but without personal expense, fully cooperate with ADP and execute all papers and perform all acts requested by ADP to
     establish, confirm or protect its exclusive rights in such items or to enable it to transfer legal title to such items, together with any
     patents, copyrights, trademarks, service marks and/or trade names that may be applied for and/or issued;

     (d) shall, but without personal expense, provide such information and true testimony as ADP may request regarding such items
     including, without limitation, items which I neither conceived nor worked on but regarding which I have knowledge because of my
     employment by ADP;

     (e) hereby assign to ADP, its successors and assigns, exclusive right, title and interest in and to all such items including, without
     limitation, any patents, copyrights, trademarks, service marks and/or trade names which have been, or may be, issued; and

     (f) state that only such items in which I personally hold or claim an interest and which are not subject to this Agreement are listed on the
     Ownership Schedule attached hereto. The absence of an Ownership Schedule, or the absence of any disclosure on such Ownership
     Schedule, means that no such items exist.

  3. (a) During the period that I am an ADP employee, I shall not (except in connection with my duties as an ADP employee), on my behalf
     or on behalf of any other Person, directly or indirectly, solicit, contact, call upon, communicate with or attempt to communicate with any
     Person that is a client, bona fide prospective client, marketing partner or business partner of ADP to sell, market, license, lease or
     provide any software, product or service competitive or potentially competitive with any software, product or service sold, marketed,
     licensed, leased, provided or under development by ADP at any time during my employment.

     (b) During the period commencing on the date I cease to be an ADP employee for any reason whatsoever (such date, being the
     “Termination Date”) and ending on the date that is twelve months thereafter, I shall not, on my behalf or on behalf of any other Person,
     directly or indirectly, solicit, contact, call upon, communicate with or attempt to communicate with any Person that was a client, bona
     fide prospective client, marketing partner or business partner of ADP before the Termination Date to sell, market, license, lease or
     provide any software, product or service competitive or potentially competitive with any software, product or service sold, marketed,
     licensed, leased, provided or under development by ADP during the two-year period prior to my Termination Date, provided that the
     restrictions set forth in this paragraph 3(b) shall only apply to clients, bona fide prospective clients, marketing partners or business
     partners of businesses of ADP with which I was involved.

     (c) For purposes of this agreement, the term “client” and “prospective client” shall include, without limitation, any Person to or for whom
     ADP provides or proposes to provide, as applicable, products or services, either directly or indirectly, whether as a vendor,
     subcontractor to another vendor or otherwise, and whether or not privity of contract exists between ADP and such Person.

  4. During the period commencing on the date I become an ADP employee and ending on the date that is twelve months following my
     Termination Date, I will not, directly or indirectly, hire, contract with, solicit, or encourage to leave ADP’s employ any ADP employee, or
     hire or contract with any former ADP employee within one year after the date such person ceases to be an ADP employee.
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  5. During my employment by ADP, I shall not accept any position (unless such position is to commence after my employment by ADP
     ceases), gratuities, compensation, reimbursement or funds, or their equivalent, from any Person engaged in any business in which
     ADP is engaged.

  6. I acknowledge and agree that a violation of the foregoing covenants not to disclose, not to solicit and not to hire will cause irreparable
     injury to ADP. ADP shall be entitled, in addition to any other rights and remedies it may have at law or in equity, to an injunction
     enjoining and restraining me from performing, and continuing in the performance of, any such violation.

  7. I understand and agree that I am employed on an at-will basis. As an at-will employee, I understand and agree that either ADP or I can
     terminate our employment relationship at any time for any reason, with or without advance notice and with or without cause. I
     understand and agree that, although over the course of my employment, other terms and conditions of my employment may change,
     the at-will term of my employment will not change. I understand that no one other than the Chief Executive Officer of ADP may enter
     into any agreement with me contrary to the foregoing and that any such contrary agreement must be in writing and signed by the Chief
     Executive Officer.

  8. My obligations under this agreement shall be binding upon me regardless of which office(s) of ADP I am employed at or position(s) I
     hold and shall inure to the benefit of any successors or assigns of ADP. This agreement supplements and does not supersede any prior
     agreements(s) on the subject matter addressed herein.

  9. If any provision of this agreement is invalid or unenforceable, the balance of this agreement shall remain in effect, and if any provision
     is inapplicable to any Person or circumstance it shall nevertheless remain applicable to all other Persons and circumstances. This
     agreement shall be governed by, and construed in accordance with, the laws of the State of New Jersey applicable to contacts made
     and to be performed entirely within such State. I acknowledge that the terms of this agreement are reasonable and that I have had a
     reasonable opportunity to consult with an attorney before agreeing to the terms of this agreement.

 10. All notices shall be sent to the parties by certified or registered mail at the addresses set forth herein, Attention, in the case of ADP,
     Vice President, Human Resources, or to any changed address which may be given in writing hereafter. All notices to ADP shall also
     include a copy to ADP at One ADP Boulevard, Roseland, New Jersey 07068, Attention: General Counsel.




Name (Electronic Signature):       David Schwartz
Accept/Decline:                    Accept
Date:                              Apr 30, 2015 11:16 am
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                    EXHIBIT B
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                                                SALES REPRESENTATIVE’S AGREEMENT
AGREEMENT between Automatic Data Processing, Inc., a Delaware corporation, or one of its divisions, subsidiaries or
affiliates (collectively, the “Company”) with offices at One ADP Boulevard, Roseland, New Jersey 07068, and the employee
agreeing to the terms hereof (“Employee”).
In consideration of the covenants and agreements contained herein, the Company and Employee agree as follows:

  1. NATURE OF SERVICES. The Company hereby employs Employee, and Employee accepts employment with the Company, as a Sales
     Representative. Employee shall devote Employee’s best efforts and entire business time to the performance of Employee’s duties and
     responsibilities hereunder. Employee agrees that Employee has read or will immediately read the Company’s Code of Business
     Conduct and Ethics and the Employee will conduct himself or herself in accordance with that and all other Company policies throughout
     Employee’s employment with the Company. Employee understands that the Company is committed to ethical behavior in business and
     Employee agrees that Employee will strictly adhere to the highest standards of ethics at all times when representing the Company.

  2. COMPENSATION. Employee’s compensation as a Sales Representative of the Company is as set forth in the Sales Compensation
     Plan which may be amended at any time at ADP’s discretion.

  3. OTHER EMPLOYEE BENEFITS. Employee shall be eligible to participate in any group health benefits, life insurance, stock purchase,
     vacation and other employee benefit plans in accordance with the terms and conditions of those plans.

  4. NON-SOLICITATION, NON-DISCLOSURE, NON-USE AND NON-HIRE.

     (a) Employee agrees that during the period commencing the date Employee becomes an employee of the Company and ending one
     year after the date Employee ceases to be an employee of the Company for any reason whatsoever (the “Non-Solicitation Period”),
     Employee shall not, on Employee’s behalf or on behalf of any other person, corporation, partnership or other entity whatsoever (a
     “Person”), directly or indirectly, solicit, contact, call upon, communicate with or attempt to communicate with any Person which was a
     client, bona fide prospective client or marketing partner of the Company before the date Employee ceases to be an Employee of the
     Company (the “Termination Date”) that (i) was located in any territory Employee managed or to which Employee was assigned or
     covered during the two-year period prior to the Termination Date and/or (ii) Employee was assigned, managed and/or had knowledge
     of, contact or involvement with during the two-year period prior to the Termination Date, to sell, license or lease any software, product
     or service competitive or potentially competitive with any software, product or service sold, licensed, leased, provided or under
     development by the Company during the two-year period prior to the Termination Date, provided that the restrictions set forth in this
     paragraph shall only apply to clients, bona fide prospective clients or marketing partners of businesses of the Company with which the
     Employee was involved or exposed.

     (b) During and after Employee’s employment with the Company, Employee will not disclose to any Person any business methods,
     procedures, pricing and marketing structure and strategy, programs, forms, confidential information, trade secrets, the names and
     addresses of current clients, former clients and prospective clients of the Company, or other data and information relating to the
     Company, its vendors, licensors, marketing partners or clients, learned by Employee at any time during Employee’s employment with
     the Company (the “Information”). Upon termination of Employee’s employment with the Company, Employee will return all copies of all
     materials which belong to the Company (whether or not such materials were prepared by the Company) and which are in Employee’s
     possession or over which Employee exercises any control.

     (c) Employee will not, during the Non-Solicitation Period, except in the course of fulfillment of Employee’s duties as an employee of the
     Company, use or act upon in any way, directly or indirectly, any information which became known to Employee during the course of
     Employee’s employment with the Company concerning the identity or business activity of any current clients, former clients, prospective
     clients and/or marketing partners of the Company.

     (d) During the Non-Solicitation Period, Employee will not, directly or indirectly, hire, solicit, or encourage to leave the Company’s
     employ any employee of the Company, or solicit, hire or contract with any former employee of the Company within one year after the
     date such person ceases to be an employee of the Company.

     (e) Employee agrees that a violation of the foregoing covenants not to solicit, not to disclose, not to use and not to hire or any
     provisions thereof will cause irreparable injury to the Company. Accordingly, the Company shall be entitled, in addition to any other
     rights and remedies it may have at law or in equity, to an injunction enjoining and restraining Employee from doing or continuing to do
     any such act.

     (f) For the purposes of this Agreement, the term “client” and “prospective client” shall include without limitation any entity to or for whom
     the Company provides or proposes to provide, as applicable, products or services either directly or indirectly, whether as a vendor,
     subcontractor to another vendor or otherwise, whether or not privity of contract exists between the Company and such entity.

  5. PATENTS AND OTHER DEVELOPMENTS. Employee understands and acknowledges that the Company shall have exclusive rights to
     anything relating to its actual or prospective business which Employee conceives or works on while employed by the Company.
     Accordingly, Employee:

     (a) will promptly and fully disclose all such items to the Company and will not disclose such items to any other person or entity (other
     than employees of the Company authorized to review such information) without the Company’s prior consent;

     (b) will maintain on the Company’s behalf and surrender to the Company upon termination of the Employee’s employment with the
     Company appropriate written records regarding all such items;

     (c) will, but without personal expense, fully cooperate with the Company, execute all papers and perform all acts requested by the
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     Company to establish, confirm or protect its exclusive rights in such items or to enable it to transfer title to such items, together with any
     patents, copyrights, trademarks, service marks and/or trade names that may be applied for and/or issued;

     (d) will, but without personal expense, provide such information and true testimony as the Company may request regarding such items,
     including, without limitation, items which Employee neither conceived not worked on but regarding which employee has knowledge
     because of Employee’s employment by the Company;

     (e) hereby assigns to the Company, its successors and assigns, exclusive right, title and interest in and to all such items including,
     without limitation, any patents, copyrights, trademarks, service marks and/or trade names which have been, or may be, issued; and

     (f) states that the only such items in which Employee personally holds or claims an interest, and which are not subject to this
     Agreement, are listed on the Ownership Schedule attached hereto. The absence of such an Ownership Schedule, or the absence of
     any disclosure on such Ownership Schedule, means that no such items exist.

  6. AMENDMENTS: TERMINATION.

     (a) The Company reserves the right to amend or modify this Agreement or the Sales Compensation Plan at any time after the date
     hereof.

     (b) Notwithstanding the foregoing, Employee understands and agrees that Employee is employed by the Company on an at-will basis.
     As an at-will employee, Employee understands that either the Company or Employee can terminate the employment relationship at any
     time for any reason, with or without advance notice and with or without cause. Employee further understands that, although over the
     course of Employee’s employment, other terms and conditions of Employee’s employment may change, the at-will term of Employee’s
     employment will not change. Employee understands that no one other than the Chief Executive Officer of the Company may enter into
     any agreement with Employee contrary to the foregoing and that any such contrary agreement must be in writing and signed by the
     Chief Executive Officer.

  7. GOVERNING LAW. This Agreement shall be construed and interpreted in accordance with the laws of the State of New Jersey (where
     the Company’s principal executive offices are located) applicable to contracts made and to be performed entirely within such State. The
     courts of New Jersey and the United States District Court for New Jersey shall have jurisdiction over the parties with respect to any
     dispute or controversy between them arising under or in connection with this Agreement. A summons or complaint in any such action or
     proceeding may be served by mail in accordance with Paragraph 8 below.

  8. NOTICES. All notices shall be sent to the parties by certified or registered mail at the addresses set forth above or to any changed
     address which may be given in writing hereafter. All notices to the Company shall include a copy to the Company at One ADP
     Boulevard, Roseland, New Jersey 07068, Attention: General Counsel.

  9. SEPARABILITY. If any provision of this Agreement (including, but not limited to, any provision set forth in Paragraphs 4 and 5 above),
     or any portion thereof, is held to be invalid or unenforceable, the balance of the Agreement shall remain in effect, and if any provision is
     inapplicable to any person or circumstance it shall nevertheless remain applicable to all other persons and circumstances.

 10. TRANSFER OF EMPLOYMENT. The parties recognize that Employee may be employed in offices of the Company other than the one
     in which Employee is currently employed hereunder. Accordingly, the parties agree that whenever any event occurs affecting their
     respective rights, duties, or obligations hereunder, the member of the Company by which Employee is employed at the time such event
     occurs shall be deemed to be the “Company” for all purposes of this Agreement.

 11. HEADINGS. The headings in this Agreement are solely for convenience of reference and shall not affect this Agreement’s
     interpretation.

 12. ACKNOWLEDGMENTS. Employee acknowledges that the Information is confidential and proprietary information belonging to the
     Company and that the use or disclosure of the Information except in connection with the Employee’s employment with the Company
     could reduce that the Company’s competitive advantage or otherwise commercially damage the Company. Employee further
     acknowledges that the terms of this Agreement are reasonable and that Employee has had a reasonable opportunity to consult with an
     attorney before signing this Agreement.
IN WITNESS WHEREOF, the parties hereto have entered into this Agreement as of the date agreed to (whether electronically or otherwise)
by Employee.




Name (Electronic Signature):        David Schwartz
Accept/Decline:                     Accept
Date:                               Apr 30, 2015 11:17 am
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                    EXHIBIT C
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     partners, and (iv) any other individual or entity whose products or services ADP purchases, acquires or licenses
     for use with, or redistribution to, a third party (including Clients).

              c.             “Clients” means any individual, corporation, limited liability company, partnership,
     joint venture, association, or other entity, regardless of form, and their employees or agents, or government or
     quasi-government entity, and their employees or agents, for: (i) whom ADP provides products or services in
     connection with the Business of ADP; (ii) whom ADP has provided products or services in connection with the
     Business of ADP within the one (1) year period prior to my voluntary or involuntary termination of
     employment, for any reason, with or without cause, from ADP; (iii) whom I have solicited, contacted, called
     upon, communicated with, or attempted to communicate with on behalf of ADP in connection with the
     Business of ADP within the two (2) year period prior to my voluntary or involuntary termination of
     employment, for any reason, with or without cause, from ADP; or (iv) about whom I have any Confidential
     Information or trade secret information.

               d.          “Competing Business” means any individual (including me), corporation, limited
     liability company, partnership, joint venture, association, or other entity, regardless of form, that is engaged in
     any business or enterprise that is the same as, or substantially the same as, that part of the Business of ADP in
     which I have worked or to which I have been exposed during my employment with ADP (regardless of whether
     I worked only for a particular segment of that part of the business in which I worked—for example, business
     segments based on the number of employees a Client has or a particular class of business using an ADP
     product or service).

               e.            “Confidential Information” means information and the compilation of information
     known or possessed by me because of my employment at ADP that is created, compiled, received or gathered
     by ADP or its agents and is related to the Business of ADP, that is valuable to ADP, and which ADP endeavors
     to protect from disclosure or use by its competitors and others who could benefit from its use, whether in
     written, tangible, electronic or any other form or media. Assuming the foregoing criteria are met, Confidential
     Information includes but is not limited to information about: ADP’s operations, products, business plans,
     market strategies, and services; research and development of ADP products and services; ADP’s intellectual
     property and trade secrets; Creative Works, including all publications, products, applications, processes, and
     software in any stage of development; names and other listings of current or prospective Clients, Business
     Partners, and Vendors (including contact information that may be compiled in computer databases that are not
     owned or controlled by ADP such as address books, personal digital assistants, smart phones, cloud storage
     services, and social and business websites); proposals made to current or prospective Clients, Business
     Partners, and Vendors or other information contained in offers or proposals to such Clients, Business Partners,
     and Vendors; the terms of any arrangements or agreements with Clients, Business Partners, and Vendors,
     including the amounts paid for such services or how pricing was developed by ADP, the implementation of
     Client-specific projects, the identity of Business Partners and Vendors, and Business Partner and Vendor
     pricing information, the composition or description of future services that are or may be provided by ADP;
     ADP’s financial, marketing, and sales information; technical expertise and know-how developed by ADP,
     including the unique manner in which ADP conducts its business; employee lists, employee capabilities,
     employee compensation, prospective employee information, and employee training information and practices;
     Personally Identifiable Information; and Protected Health Information.           Confidential Information also
     includes any information disclosed to ADP by a third party (including, without limitation, current or
     prospective Clients, Business Partners, and Vendors) that ADP is obliged to treat as confidential. This
     definition of Confidential Information excludes information that is or becomes known or generally available in
     the public domain through lawful means, other than through my act or failure to act. This definition of
     Confidential Information and the use of the term Confidential Information in this Agreement are not meant to
     limit ADP’s rights under applicable trade secrets laws, and ADP specifically reserves all of its rights under all
     applicable laws concerning trade secrets.

              f.           “Creative Works” means any and all works of authorship including, for example,
     written documents, spreadsheets, graphics, designs, trademarks, service marks, algorithms, computer programs
     or code, protocols, formulas, mask works, brochures, presentations, photographs, music or compositions,
     manuals, reports, and compilations of various elements, whether or not patentable or registrable under
     copyright, trademark, or similar domestic and international laws.

              g.            “Material Business Contact” means contact that is intended to establish or strengthen a
     business relationship for ADP.


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              h.           “Personally Identifiable Information” (“PII”) is Confidential Information and
     includes an individual’s first name and last name or first initial and last name in combination with any of the
     following: an individual’s social security number, tax identification number, social insurance number, driver’s
     license number, government-issued identification card number, financial or bank account information,
     healthcare information, or credit, debit or payroll card number.

              i.            “Protected Health Information” (“PHI”) is Confidential Information and includes
     information that is created, received, and/or maintained by the Company related to an individual’s health care
     (or payment related to health care) that directly or indirectly identifies the individual.

              j.         “Territory” means the geographic area where I worked, represented ADP, or had
     Material Business Contact with ADP’s Clients in the two (2) year period preceding the termination of my
     employment with ADP.

              k.            “Vendors” means any individual, corporation, limited liability company, partnership,
     joint venture, association, or other entity, regardless of form, or government entity that supplies materials or
     services to ADP for internal use.

     2.        Duties and Best Efforts. I agree to provide to ADP and its Clients services related to the Business of
     ADP, as directed by ADP in its sole discretion. During employment, I agree to devote my full time and best
     efforts to ADP, not to provide to ADP's Clients or ADP's competitors the same or similar services or products
     as those provided to ADP other than on behalf of ADP, and not to engage in any other employment, consultant,
     or advisory relationship that is the same as, similar to, or related to my duties with ADP or the Business of
     ADP or that otherwise creates a conflict of interest with ADP. I also agree that I am prohibited from accessing
     any of ADP’s Confidential Information, computer systems, servers, drives, or databases for any competitive or
     conflicting purpose and that any authorization for such access is revoked and prohibited by ADP once I engage
     in any competitive or conflicting activities or take any material steps towards accomplishing any competitive or
     conflicting activities. I further agree to not make any false or misleading statements regarding ADP or its
     products or services, and agree to not make any false or misleading statements or take action to mislead ADP
     regarding clients, prospective clients, business partners, or vendors, including falsifying documents.

     3.       Non-Competition. I agree that during my employment and for a period of twelve (12) months from
     the voluntary or involuntary termination of my employment for any reason and with or without cause, I will
     not, directly or indirectly, own, manage, operate, join, control, finance, be employed by or with, or participate
     in any manner with a Competing Business anywhere in the Territory where doing so will require me to (i)
     provide the same or substantially similar services to a Competing Business as those which I provided to ADP
     while employed, or (ii) use, disclose or disseminate ADP’s Confidential Information or trade secrets.
     However, after my voluntary or involuntary termination of my employment for any reason and with or without
     cause, nothing shall prevent me from owning, as an inactive investor, securities of any competitor of ADP
     which is listed on a national securities exchange.

     4.       Non-Solicitation of and Non-Interference with Clients, Business Partners, and Vendors.

              a.        Clients: I agree that during my employment and for a period of twelve (12) months
     following the voluntary or involuntary termination of my employment for any reason and with or without
     cause, I will not, either on my own behalf or for any Competing Business, directly or indirectly, solicit, divert,
     appropriate, or accept any business from, or attempt to solicit, divert, appropriate, or accept any business from
     any Client for the purposes of providing products or services within the United States of America that are the
     same as or substantially similar to those provided in the Business of ADP. I also agree that I will not induce or
     encourage or attempt to induce or encourage any Clients to cease doing business with ADP or materially alter
     their business relationship with ADP.

               b.        Business Partners: I agree that during my employment and for a period of twelve (12)
     months following the voluntary or involuntary termination of my employment for any reason and with or
     without cause, I will not, either on my own behalf or for any Competing Business, directly or indirectly engage,
     contract with, solicit, divert, appropriate or accept any business from, or attempt to engage, contract with,
     solicit, divert, appropriate or accept any business from any Business Partner for the purpose of providing to me
     or any Competing Business any product or service within the United States of America that is (a) the same as
     or substantially similar to the product or service provided to ADP and which ADP uses for, uses for obtaining,
     or distributes to, its Clients or (b) specialized, customized or designed by the Business Partner for ADP. This

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     provision applies only to a Business Partner: (i) with whom ADP currently has a commercial or business
     relationship in connection with the Business of ADP; (ii) with whom ADP has had a commercial or business
     relationship in connection with the Business of ADP within the one (1) year period prior to my voluntary or
     involuntary termination of employment, for any reason, with or without cause, from ADP; or (iii) about whom
     I have any Confidential Information or trade secret information. I also agree that I will not induce or
     encourage or attempt to induce or encourage any Business Partner to cease doing business with ADP or
     materially alter their business relationship with ADP.

              c.        Vendors: I agree that during my employment and for a period of twelve (12) months
     following the voluntary or involuntary termination of my employment for any reason and with or without
     cause, I will not induce or encourage or attempt to induce or encourage any Vendor to cease doing business
     with ADP within the United States of America or materially alter their business relationship with ADP within
     the United States of America.

     5.       Non-Solicitation of Employees. I agree that during my employment with ADP and for a period of
     twelve (12) months following the voluntary or involuntary termination of my employment for any reason and
     with or without cause, I will not, directly or indirectly, hire, solicit, recruit, or encourage to leave ADP, any
     current employees of ADP or hire, solicit, recruit, or contract with employees who terminate their employment
     with ADP within twelve (12) months following my termination date. This restriction shall only apply to ADP
     employees located within the United States of America.

     6.        Non-Disclosure and Non-Use of Confidential Information and Trade Secrets. During my
     employment, except as authorized and required to perform my duties for ADP, and after the voluntary or
     involuntary termination of my employment for any reason and with or without cause, I will not access,
     disclose, use, reproduce, distribute, or otherwise disseminate ADP’s Confidential Information or trade secrets
     or take any action causing, or fail to take any action necessary in order to prevent, any such information to lose
     its character or cease to qualify as Confidential Information or a trade secret. I agree to inquire with ADP if I
     have any questions about whether I am authorized or required to access, disclose, use, reproduce, distribute, or
     otherwise disseminate ADP’s Confidential Information or whether particular information is Confidential
     Information or a trade secret before accessing, using or disclosing such information. I understand, however,
     that nothing in this Restrictive Covenant Agreement prohibits me from reporting possible violations of federal
     law or regulation to any governmental agency or entity or from communicating with any such agency or entity
     regarding the same. I also agree to immediately return to ADP all property and information belonging to ADP
     such as keys, credit cards, telephones, tools, equipment, computers, passwords, access codes, pin numbers, and
     electronic storage devices, as well as all originals, copies, or other physical embodiments of ADP’s
     Confidential Information or trade secrets (regardless of whether it is in paper, electronic, or other form),
     including any such information in any programs, business forms, manuals, correspondence, files, databases, or
     on computer disks or any other storage medium, including but not limited to cloud storage, whether or not
     owned or controlled by me or ADP (e.g., social and business networking websites, web-based email servers,
     Notability, or cloud storage services), immediately upon termination of my employment or upon any earlier
     request by ADP, and I agree not to keep, access, disclose, use, reproduce, distribute, or otherwise disseminate
     any copies, electronic or otherwise, of any of the foregoing. I also understand that my obligations under this
     paragraph, as well as the other covenants in this Agreement, extend to my activities on the internet, including
     my use of business oriented social networking sites such as LinkedIn and Facebook. This shall include
     deleting any business related connections or contacts, including all ADP Clients and Business Partners, that I
     inputted in or with whom I connected on any business oriented social networking sites, my LinkedIn account,
     any cloud storage, any electronic device, or any cell phones while employed at ADP. Pursuant to 18 U.S.C. §
     1833(b), and as set forth fully therein, notice is hereby given that an individual shall not be held criminally or
     civilly liable under any federal or state trade secret law for the disclosure of a trade secret that is made in
     confidence to a federal, state, or local government official, either directly or indirectly, or to an attorney, solely
     for the purpose of reporting or investigating a suspected violation of law; or is made in a complaint or other
     document filed in a lawsuit or other proceeding, if such filing is made under seal. An individual who files a
     lawsuit for retaliation by an employer for reporting a suspected violation of law may disclose the trade secret to
     the attorney of the individual and use the trade secret information in the court proceeding, if the individual files
     any document containing the trade secret under seal and does not disclose the trade secret, except pursuant to
     court order.

     7.       Prior Agreements and Disclosure of Agreement to Third Parties. I represent that I am not a party
     to any agreement with any former employer or any other person or entity containing any non-disclosure, non-
     compete, non-solicitation, non-recruitment, intellectual property assignment, or other covenants that will affect

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     my ability to devote my full time and attention to the Business of ADP that has not already been disclosed to
     ADP in writing. I also agree to provide a copy of this Agreement to any subsequent employer, person, or entity
     to which I intend to provide services that may conflict with any of my obligations in this Agreement prior to
     engaging in any such activities and to provide ADP in writing the name and address of any such employer,
     person, or entity and a description of the services I intend to provide prior to engaging in any such activities. I
     agree that ADP may also provide a copy of this Agreement or a description of its terms to any Client,
     subsequent employer, or other third party at any time as it deems necessary to protect its interests, and I agree
     to indemnify ADP against any claims and hold ADP harmless from any losses, costs, attorneys’ fees, expenses,
     fees, and damages arising out of my failure to comply with this paragraph or ADP’s providing a copy of this
     Agreement or a description of its terms to any Client, subsequent employer, or other third party.

     8.        Severability and Reformation. I agree if any particular paragraph, subparagraph, phrase, word, or
     other portion of this Agreement is determined by an appropriate court to be invalid or unenforceable as written,
     it shall be modified as necessary to be made valid or enforceable, and such modification shall not affect the
     remaining provisions of this Agreement, or if it cannot be modified to be made valid or enforceable, then it
     shall be severed from this Agreement, and all remaining terms and provisions shall remain enforceable.

     9.        Choice of Law, Venue, and Jurisdiction. The interpretation, validity, and enforcement of this
     Agreement will be governed by the laws of the State of New Jersey, without regard to any conflicts of law
     principles that require the application of the law of another jurisdiction. I agree that any action by me to
     challenge the enforceability of this Agreement must be brought or litigated exclusively in the appropriate state
     or federal court located in the State of New Jersey. I also agree that any action by ADP to enforce this
     Agreement, as well as any related disputes or litigation related to this Agreement, may, but do not have to, be
     brought in the appropriate state or federal court located in the State of New Jersey. I agree and consent to the
     personal jurisdiction and venue of the federal or state courts of New Jersey for resolution of any disputes or
     litigation arising under or in connection with this Agreement or any challenge to this Agreement and waive any
     objections or defenses to personal jurisdiction or venue in any such proceeding before any such court.

     10.       Survival. I acknowledge that my employment relationship with ADP is “terminable at will” by either
     party and that ADP or I can terminate the relationship with or without cause and without following any specific
     procedures. Nothing contained in this Agreement is intended to or shall be relied upon to alter the “terminable
     at will” relationship between the parties. However, all non-competition, non-solicitation, non-disclosure and
     non-use, non-recruiting, intellectual property, and Agreement disclosure obligations under paragraphs three (3)
     through seven (7) of this Agreement shall survive the voluntary or involuntary termination of my employment
     for any reason and with or without cause, and no dispute regarding any other provisions of this Agreement or
     regarding my employment or the termination of my employment shall prevent the operation and enforcement
     of these obligations.

     11.       Relief, Remedies, and Enforcement. I acknowledge that ADP is engaged in a highly competitive
     business, and the covenants and restrictions contained in this Agreement, including the geographic and
     temporal restrictions, are reasonably designed to protect ADP’s legitimate business interests, including ADP
     goodwill and client relations, Confidential Information and trade secrets, and the specialized skills and
     knowledge gained by me and ADP’s other employees during our employment. I acknowledge and agree that a
     breach of any provision of this Agreement by me will cause serious and irreparable damage to ADP that will be
     difficult to quantify and for which a remedy at law for monetary damages alone may not be adequate.
     Accordingly, I agree that if ADP should bring an action to enforce its rights under this Agreement and ADP
     establishes that I have breached or threatened to breach any of my obligations under this Agreement, ADP shall
     be entitled, in addition to all remedies otherwise available in law or in equity, to a temporary restraining order,
     a preliminary injunction, and a permanent injunction enjoining such breach or threatened breach in any court of
     competent jurisdiction without the necessity of posting a surety bond, as well as an equitable accounting of all
     profits or benefits arising out of any violation of this Agreement. I also agree that nothing in this Agreement
     shall be construed to prohibit ADP from pursuing any and all other legal or equitable remedies available to it
     for breach of any of the provisions of this Agreement, including the disgorgement of any profits, bonuses,
     commissions, or fees realized by me, any subsequent employers, any business owned or operated by me or to
     which I provide services, or any of my agents, heirs, or assigns. I also agree that that the knowledge, skills, and
     abilities I possess at the time of commencement of my employment are sufficient to permit me to earn a
     livelihood satisfactory to me without violating any provision of paragraphs three (3) through seven (7) above,
     for example, by using such knowledge, skills, and abilities, or some of them, in the service of business that is
     not competitive with ADP. I further agree to pay any and all legal fees, including without limitation, all


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     attorneys’ fees, court costs, and any other related fees and/or costs incurred by ADP in enforcing this
     Agreement.

     12.       Tolling. The restricted time periods in paragraphs three (3) through six (6) above shall be tolled
     during any time period that I am in violation of such covenants, as determined by a court of competent
     jurisdiction, so that ADP may realize the full benefit of its bargain. This tolling shall include any time period
     during which litigation is pending, but during which I have continued to violate such protective covenants and
     a court has declined to enjoin such conduct or I have failed to comply with any such injunction.

     13.      Cooperation. During my employment, I shall cooperate with ADP in any internal investigation or
     administrative, regulatory or judicial proceeding as reasonably requested by ADP (including, without
     limitation, being available to ADP upon reasonable notice for interviews and factual investigations, appearing
     at ADP’s request to give testimony without requiring service of a subpoena or other legal process,
     volunteering to provide ADP all pertinent information and turning over to ADP all relevant documents which
     are or may come into my possession, all at times and on schedules that are reasonably consistent with my other
     permitted activities and commitments). In the event ADP requires my cooperation in accordance with this
     Section, ADP shall reimburse me solely for reasonable travel expenses (including lodging and meals, upon
     submission of receipts).

     14.      Entire Agreement and Validity of Terms. I agree that I do not rely, and have not relied, upon any
     representation or statement not set forth herein by ADP or any of ADP's agents, representatives, or attorneys,
     and that this Agreement may be changed only by a subsequent agreement in writing signed by both parties. I
     understand that I may have an existing agreement(s) with ADP, through acquisition of a prior employer or
     otherwise, that may include the same or similar covenants as those in this Agreement, and acknowledge that
     this Agreement is meant to supplement any such agreement(s) such that the covenants in the agreements that
     provide ADP with the greatest protection enforceable under applicable law shall control, and that the parties do
     not intend to create any ambiguity or conflict through the execution of this Agreement that would release me
     from the obligations I have assumed under the protective covenants in any of these agreements.

     15.     Electronic Signature. I agree that ADP may enforce this Agreement with a copy for which I have
     provided an electronic signature.

     16.      Assignment and Successorship. This Agreement and ADP’s rights and obligations hereunder may
     be assigned by ADP and shall inure to the benefit of and shall be enforceable by any such assignee, as well as
     any of ADP’s successors in interest. This Agreement and my rights and obligations may not be assigned by
     me, but are binding upon my heirs, administrators, executors, and personal representatives.

     17.      Waiver. ADP’s waiver of a breach of any provision of this Agreement in any particular instance shall
     not be deemed to be a waiver of any other breach in any other instance and/or of ADP’s other rights at law, in
     equity, or under this Agreement. ADP’s failure to take action against any other employee for similar breaches
     shall not operate as a wavier by ADP of a breach as to me. Any waiver by ADP of any breach of this
     Agreement by me shall not be effective unless in writing signed by the President of ADP, and no such waiver
     with regards to me or any other person under a similar agreement shall operate or be construed as a waiver of
     the same type of breach or any other breach on a subsequent occasion by me or any other person or entity.

     18.       Jury Trial Waiver. I agree that, to the fullest extent permitted by law, each party waives any right to
     trial by jury with respect to any proceeding arising out of or relating to this Agreement.

     19.      Opportunity to Review. I agree that I have read this Agreement before signing it, understand its
     terms, and that I have had the opportunity to have legal counsel review this Agreement, prior to signing it, and
     I acknowledge that I have not been forced or coerced in any manner to sign this Agreement and do so of my
     own free will.


                  After reviewing this document, close this window to continue the grant acceptance process.




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     ACCEPTED




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                    EXHIBIT D
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Florida Department of State                                                                           D IVISION   OF   C ORPORATIONS




      Department of State / Division of Corporations / Search Records / Detail By Document Number /




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                    EXHIBIT E
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  the old-school method? You wouldn’t believe how much time a
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  Regardless of how many employees you have or the scale of
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  Our experts, will listen to your Human Resource needs and give
  you the best options possible.
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